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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW HAMPSHIRE


Kevin A. Perry, Jr.

      v.                                          Case No. 21-cv-252-LM

FCI Berlin, Warden


                                    ORDER

      No objection having been filed, I herewith approve the Report and

Recommendation of Magistrate Judge Andrea K. Johnstone dated April 5,

2021 .     “‘[O]nly those issues fairly raised by the objections to the

magistrate's report are subject to review in the district court and

those not preserved by such objection are precluded on appeal.’”

School Union No. 37 v. United Nat'l Ins. Co., 617 F.3d 554, 564 (1st

Cir. 2010) (quoting Keating v. Secretary of Health & Human Servs., 848

F.2d 271, 275 (1st Cir.1988)); see also United States v. Valencia-

Copete, 792 F.2d 4, 6 (1st Cir. 1986) (after proper notice, failure to

file a specific objection to magistrate's report will waive the right

to appeal).     Additionally, finding that the petitioner has failed to

make a substantial showing of the denial of a constitutional right,

the court declines to issue a certificate of appealability.       See 28

U.S.C.§ 2253(c)(2); Rule 11, Rules Governing Habeas Corpus Cases Under

Section 2254; First Cir. LR 22.0.


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                                            Landya B. McCafferty
                                            Chief Judge

Date: May 5, 2021

cc:   Kevin A. Perry, Jr., pro se
      Seth Aframe, Esq.
